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FEDERAL BUREAU OF INVESTIGATION
CELLULAR ANALYSIS SURVEY TEAM (C.A.S.T.)

   

Historical Cellular Analysis

Target Phone Numbers:
347-633-8544 (Luton — T-Mobile)

 

Court Case: 19-cr-00098-CMA
FBI Case: 92U-DN-3025524
Date: 12/16/19

Special Agent Kevin P. Hoyland
Cellular Analysis Survey Team (C.A.S.T.)
FBI - Denver Division, Fort Collins Resident Agency

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Investigative Information

 

 

 

1. INVESTIGATIVE INFORMATION: On 01/22/2019, Leonard Luton was arrested outside the home of Sandra
Olson, an Estes Park, CO resident. Estes Park Police Department (EPPD) identified Luton as a suspect in an
ongoing fraud investigation worked jointly with the Federal Bureau of Investigation (FBI) Denver Division.
During an interview, Luton confirmed his cellular phone number was 347-633-8544 (target cell phone).
EPPD subsequently obtained a search warrant for the cellular records for this phone number for further
analysis.

2. PURPOSE OF ANALYSIS: The FBI’s Cellular Analysis Survey Team (C.A.S.T.) was requested to conduct cellular
analysis of the call detail records of the phone relevant to the investigation. Specifically, C.A.S.T. National
Asset FBI Special Agent Kevin Hoyland analyzed the cell sites used during voice calls and text messages, to
show the phone’s general locations around the times of interest to the investigation.

3. METHODOLOGY: Cell phone companies maintain databases that capture and store information related to
the usage of each customer’s cellular phone. These databases generate call detail records (CDRs). The
CDRs document the network interactions to and from the cell phone, to include the date, time, duration,
number called, and calling number. Additionally, the CDRs capture the cell tower and cell sector (“cell
site”) which served the cell phone when contact was initiated with the network. An analysis was
performed on the CDRs obtained for the target cell phone. Used in conjunction, the call detail records and
a list of cell site locations illustrate a general location of the target cell phone when it initiated contact with
the network.

NOTE: All times listed herein are in the local time zone to the area represented, unless otherwise noted.

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Basic Principles Utilized
In Call Detail Record Analysis

 

 

 

TECHNOLOGY:

Cell phones are RADIOS that use RADIO FREQUENCIES (RF) to communicate.

Cell phones (when “on”) constantly scan their environment looking for the strongest, cleanest signal from the
tower.

The strongest, cleanest signal generally comes from the tower that is CLOSEST to the phone or the tower with the
best line of sight.

The tower with the strongest, cleanest signal is the one the handset will use for service. This is the serving cell and
will be used to make and receive calls.

The phone “sees” other towers around the serving cell and will constantly measure those signal strengths.
However, the phone will not randomly reselect to an adjacent tower unless the tower is on its “neighbor list”
which is controlled by the network service provider. This allows the network to accurately manage and control
their subscribers.

As the phone moves, it will choose a new serving cell based on signal strength and neighbor list. If this occurs
while the phone is in a call, the phone will “handoff” the call to the next cell site/sector. Therefore, some service
providers show a “beginning cell site” (call originated) and an “ending cell site” (call ended) in their records.

CELL SITES AND SECTORS:

Cell towers (also known as CELL SITES or BASE TRANSCEIVER STATIONS) come in all shapes and sizes and can be
located anywhere (church steeples, water towers, sides of buildings, etc.).

A typical cell tower has THREE, 120° sectors, positioned for the best 360° coverage. The service provider
sometimes labels the sectors numerically; such as 1, 2, 3, or Alpha, Beta, Gamma.

It is important to note that each cell site has its own unique identifier, which is used to identify towers the phone
uses and is like a fingerprint on the network.

The location of a cell tower is often determined by sales/marketing, capacity, improvement of coverage, or
expansion/growth of aservice provider. Generally there are more towers with overlapping coverage in urban areas
and less towers (less coverage) in rural areas.

Antennas on cell towers have a downward tilt and are pointed towards the earth. The antenna arrays are fine-
tuned to provide a specific area of coverage. As RF travels away from the tower, its strength diminishes with
distance.

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Sector Orientations:
Each Cell Site Orientation May Vary

 

 

 

 

Orientation (or direction) is
provided in degrees of a
compass and corresponds to
times on a clock, with 12:00
o'clock being North

Every hour on the clock is
equal to 30 degrees

If the orientation points at
0 degrees or 12:00 o'clock,
the coverage can be
approximated to be 60
degrees in either direction

Likewise, for the remaining
sectors

 

 

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Cell Site Depictions

 

 

 

 

¢ Cell sectors illustrated on the following maps use this
symbol to demonstrate the direction in which the antennas
on the cell towers are orientated:

¢ The shaded area in the illustration shows the primary
DIRECTION the radio frequencies (RF) travel from the {

 

antennas (see red arrows). The shaded area DOES =

 

-| SHADED AREA

 

 

NOT depict the actual RF footprint or coverage
area of the particular sector.

¢ These symbols illustrate the cell sites and sectors used during a connection
with the cellular network and reflect the general area where the cellular
telephones were located at that time.

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T-Mobile Call Detail Records (CDR) Explanation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Time |Duration| CallType |Direction| Calling Called IMSI IMEI Ast LTE|/ Ist LTE) ist Ist Ist |1st Tower 1st Tower
Number Number Site ID | Sector | LAC (Cell ID) Tower LAT LONG
ID Azimuth
08/04/2016 | 21:16:13 60  —_ |mSTerminatin| Incoming | 1303347XXXX | 1720481XXxx | 31026047283xxxx | 351501085483000| 21901 3 220 | 39.696442 | -104.89513
gSMSinMSC
08/04/2016 | 21:16:18 60  |mSTerminatin| Incoming | 1303347XXXX | 1720481XXxx | 31026047283xxxx | 351501085483000| 21901 3 220 | 39.696442 | -104.89513
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08/05/2016 | 06:03:23 135  |mSOriginating) Incoming | 1303347Xxxx | 1720481Xxxxx | 31026047283xxxx | 351501085483000| 21942 1 39.689862 | -104.865347
Date, Time
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Direction customer number)
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the call : =
Cell Site Identifiers for Orientation Direction
AG Calls and Texts
Subscriber number/
identifier
Number placing the call : ;
: Latitude and Longitude
(outgoing calls show f
customer number) one ech
Note: CDR columns
consolidated for Phone equipment identifier
display purposes
6

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Leonard Luton
Cell Phone Information

 

 

 

Target Phone Number: 347-633-8544

Service Provider: T-Mobile

Subscriber Information: Lorna B Malone, 1307 Pacific St., Apt. 6D, Brooklyn, NY,
established 11/04/2016

 

Type of Records Being Analyzed: T-Mobile Call Detail Records (CDRs)

Source From which Records Acquired: Obtained pursuant to a federal search warrant
served on T-Mobile on 4/20/2018

Date and Time Range Used for Analysis: Multiple days between 05/24/2018 through
01/22/2019

7

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C) T-Mobile Towers Luton’s Phone Utilized From 10/01/18 — 10/03/18

 

 

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Olson Residence:
450 Chapin Lane,
Estes Park, CO

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Minneapolis
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: : 10/02/18
@ 7:03pm
Arrived in Estes Park, CO
around 1:30am on 10/03/18
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10/02/18
@ 11:47am

 

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Luton Residence:
1307 Pacific St., beri
Brooklyn, NY °

 

 

 

 

 

 

 

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10/02/18 @ ‘
05:09am

 

 

 

 

 

 

 

Left Brooklyn, NY area
around 11pm on 10/01/18

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10/02/2018 Last connection in Nebraska: Video
Luton Phone Connections | from Luton’s phone at 7:12pm (CDT)

 

 

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10/02/2018
347-633-8544: 7:03:52 PM; Outgoing Ca
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Village Inn Restaurant:

1225 West Eisenhower Blvd.,

Loveland, CO

 

 

10/03/2018 Received text message with Village Inn

Luton Phone Connections | address on 10/02/2018 from Dobson

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10/03/2018 All Connections with Dobson
Luton Phone Connections (876-308-6329)

 

 

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10/03/2018

247-033-8544: 1:44:32 AM; Outgoing SMS:

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Olson Residence:
450 Chapin Lane, Estes

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347-633-8544: 1:35:05 AM; Incoming Call; Voice; 8763086320; 3476338544; 260
347-033-8544: 1:45:06 AM; Incoming Call; Voice; 8763086329; 3476528544; 260

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05/24/2018 Olson Package Delivered
Luton Phone Connections

via UPS at 9:34 a.m.

 

 

 

 

 

 

 

 

 

   
 
 

 

 

 

 

 

 

 

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05/25/2018

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Olson Package Delivered

 

 

 

 

 

 

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Olson Package Delivered

 

 

 

 

 

 

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Olson Package Delivered

 

 

 

    

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Phone number 347-633-8544 has 12 call(s) |-
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1 Incoming Call - Routed to Voicemail

 

 

 

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Olson Package Delivered

 

 

 

    

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Note: Not all network connections
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EXP_00000516

 

 

 

 

hgfield py

 
Case 1:19-cr-00098-CMA Document 74-2 Filed 01/08/20 USDC Colorado Page 25 of 32

Olson Package Delivered

 

 

 

    

09/05/2018
Luton Phone Connections via FedEx at 01:03 p.m.
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Hosang Residence: o>,
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Qo 09/05/2018
Phone number 347-633-8544 has 19 call(s) D a on ie
between 8:23:08 AM and 1:06:55 PM
ROC DALE 14 Outgoing Call
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5 Incoming Call

 

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Note: Not all network connections
are shown during this time period.
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Case 1:19-cr-00098-CMA Document 74-2 Filed 01/08/20 USDC Colorado Page 26 of 32

 

 

  

  
  

 

 

 

 

 

   

 

 

 

 

‘ 09/07/2018 Olson Package Delivered
Luton Phone Connections | via FedEx at 10:29 a.m. (Count 6)
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ce cr or > 3
09/07/2018
Phone number 347-633-8544 has 9 call(s) oO {9}
between 8:33:17 AM and 3:40:37 PM
3 Outgoing Call
6 Incoming Call z s oO
@?)
es Toms River Oo
LH
Haughton Residence: ; |
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204 Fifth Ave., Tdms River C9) . a
Toms River, NJ , Bescimpe SR,
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Note: Not all network connections County Park
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are shown during this time period. Phone number 347-633-8544 has 5 call(s) between | =
"hy 11:08:40 AM and 2:08:45 PM 2
a 4 Incoming Call =

 

 

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EXP_00000518
Case 1:19-cr-00098-CMA Document 74-2 Filed 01/08/20 USDC Colorado Page 27 of 32

09/26/2018 Olson Package of Cash Delivered
Luton Phone Connections | yia FedEx at 09:28 a.m. (Count 7)

 

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Note: Not all network connections
| are shown during this time period.

   

 

 

   
 

 

 
     
 
 
  

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County Pal
Phone number 347-633-8544 has 3 call(s) ¥
= | between 10:59:18 AM and 11:07:57 AM |.
g 2 Incoming Call =z Ge
P 1 Outgoing Call z "Couns, oO

 

  
  

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09/26/2018
347-633-8544: 11:20:49 AM; Incoming Call:
Voice; 7542450067; 3476338544; 290

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09/26/2018
Phone number 347-633-8544 has 5 call(s)
between 8:40:24 AM and 1:25:05 PM

  
    
 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EXP_00000519

4 Incoming Call
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Beachpod oms
‘ fore YZ (ce 5 "1 Luton $2,000 ATM
Haughton Residence:
204 Fifth Ave., rr ¥ Deposit (JPMC)
09/26/2018
Toms River, NJ 347-633-8544: 11:34:40 AM; Incoming Call i Ocean
Voice; 6466982498; 3476338544, 160 £5} 8 Sse

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Case 1:19-cr-00098-CMA Document 74-2 Filed 01/08/20 USDC Colorado Page 28 of 32

10/12/2018 Olson Package Delivered

 

 

    
       
 

 
 
  

Luton Phone Connections via FedEx at 10:02 a.m.
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Toms River Oo

10/12/2018

Phone number 347-633-8544 has 5 call(s)
between 8:57:18 AM and 10:54:33 AM
3 Outgoing Call

 

 

 

 

 

 

 

 

 

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2 Incoming Call
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Toms River (166)
Beachwoo 10/12/2018
7 oO ‘| Phone number 347-633-8544 has 2 call(s) between
s = 8:13:26 AM and 8:55:13 AM
Haughton Residence: 2 Incoming Call 4
204 Fifth Ave., ot o
Toms River, NJ x aloe Groh
County Park
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Case 1:19-cr-00098-CMA Document 74-2 Filed 01/08/20 USDC Colorado Page 29 of 32

 

 

11/06/2018 Olson Package Delivered
Luton Phone Connections via UPS at 10:28 a.m.
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Toms River
41/06/2018

Phone number 347-633-8544 has 2 call(s) LH
between 7:30:44 AM and 9:40:44 AM .

1 Incoming Call

1 Outgoing Call

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(166)

Toms River

Beachgpod | 11/06/2018
Phone number 347-633-8544 has 2 call(s)
between 7:51:50 AM and 7:53:42 AM

 

 

 

 

 

 

 

 

 

 

 

2 Outgoing Call a
Haughton Residence: caerPek
204 Fifth Ave., ; Nay .
Toms River, NJ ; —
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EXP_00000521
Case 1:19-cr-00098-CMA Document 74-2 Filed 01/08/20 USDC Colorado Page 30 of 32

11/08/2018 Olson Package Delivered
Luton Phone Connections via UPS at 10:12 a.m. (Count 10)

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Fult : Phone number 347-633-8544 has 6 call(s)
ulton St oe | between 10:42:56 AM and 12:48:07 PM
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Herkimer St 1 Incoming Call - Routed to Voicemail
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Case 1:19-cr-00098-CMA Document 74-2 Filed 01/08/20 USDC Colorado Page 31 of 32

C) T-Mobile Towers Luton’s Phone Utilized From 01/20/19 — 01/22/19

 

 

. MINNESOTA
Olson Residence:

450 Chapin Lane,
Estes Park, CO WISCONSIN

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Minneapolis
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Luton Residence:
1307 Pacific St.,
Brooklyn, NY

 

   

   

 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

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MISSOURI
01/22/19 01/21/19 01/20/19
@ 8:55am @ 12:17pm NTUCKY @ 08:58pm INIA
; Nashville
Arrested in Estes Park, Oo Left Brooklyn, NY area
CO at approximately OKLAHOMA TENNESSEE ~| around 5:30pm on 01/20/19
4:30pm on 01/22/19 9°
ARKANSAS Charlotte
EW MEXICO Atlanta SOUTH
MISSISSIPPI - CAROLINA
Dallas ALABAMA a
GEORGIA
TEXAS
Austin +; SOUISIANA Jacksonville
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END OF REPORT

  

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